 8:05-cr-00217-LSC-TDT        Doc # 30     Filed: 07/14/05    Page 1 of 1 - Page ID # 45




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )
                                              )                 8:05CR217
       vs.                                    )
                                              )     ORDER CONTINUING TRIAL
TORIANNO RAYMON POPE and                      )
SHAMALE LANETTA KENNER,                       )
                                              )
                     Defendants.              )

        This matter is before the court on the motion of Shamale Lanetta Kenner to continue
trial (#28), now set for July 26, 2005. The motion includes a waiver of speedy trial in
accordance with NECrimR 12.1. For good cause shown, I find that the motion should be
granted. Trial of this matter will be continued to September 13, 2005.

      IT IS ORDERED that defendant’s MOTION TO CONTINUE TRIAL (#28) is granted, as
follows:

       1. The trial of this case is continued to Tuesday, September 13, 2005 before Judge
Laurie Smith Camp and a jury as to all defendants.

        2. The ends of justice will be served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. Any additional time arising as a
result of the granting of this motion, that is, the time between July 26, 2005 and September
13, 2005, shall be deemed excludable time in any computation of time under the requirement
of the Speedy Trial Act for the reasons set forth in defendant's motion. The failure to grant
additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).

       DATED July 14, 2005.

                                          BY THE COURT:

                                          s/ F.A. Gossett
                                          United States Magistrate Judge
